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                                                                        FILED
                  IN THE UNITED STATES DISTRICT COURT                    DEC 0 4 2015
                      FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION                        ~.S District Court
                                                                           ct.Of Montana
                                                                           Mrssoula


 UNITED STATES OF AMERICA,                            CR-15-16-M-DLC
                     Plaintiff,                      FINDINGS AND
                                                   RECOMMENDATION
        vs.                                        CONCERNING PLEA
 JACQUELINE DIANE ERGER,

                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of possession with the intent to

distribute methamphetamine in violation of21 U.S.C. § 841(a)(l) (Count III), as

set forth in the Indictment. In exchange for Defendant's plea, the United States

has agreed to dismiss Counts I and II of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,



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      2. That the Defendant is aware of the nature of the charge against her and

consequences of pleading guilty to the charge,

      3. That the Defendant fully understands her constitutional rights, and the

extent to which she is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that she fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count III

of the Indictment, and that sentence be imposed. I further recommend that Counts

I and II of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

             DATED thi~ day ofD cern er, 2015.
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                                       J re iah C. Lynch
                                          1ted States Magistrate Judge

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